
64 N.Y.2d 644 (1984)
Key Bank of Northern New York, N. A., Respondent-Appellant,
v.
Lake Placid Co. et al., Appellants-Respondents, et al., Defendants.
Lake Placid Co. et al., Counterclaim-Plaintiffs, Appellants-Respondents,
v.
John W. Tabner et al., Counterclaim-Defendants, Respondents.
Court of Appeals of the State of New York.
Submitted October 22, 1984.
Decided November 29, 1984.
Motions to dismiss appeal by defendants and counterclaim-plaintiffs (appellants-respondents) granted and said appeal dismissed, with costs and $20 costs of motion to counterclaim-defendants only, upon the ground that the appellants-respondents are not aggrieved by the modification at the Appellate Division (CPLR 5601, subd [a], par [iii]). On the court's own motion, cross appeal by plaintiff (respondent-appellant) dismissed, without costs, upon the ground that the order appealed from does not finally determine the action within the meaning of the Constitution.
